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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


SHARRON CHRISTIAN,

         Plaintiff,                     Case No. 1:12−cv−01103−GJQ

   v.                                   Judge Gordon J. Quist

ENHANCED RECOVERY COMPANY,
LLC,

         Defendant.
                                   /

                 NOTICE REGARDING ASSIGNMENT OF CASE
       NOTICE is hereby given that the above−captioned case was filed in
this court on October 9, 2012. The case has been assigned to Judge
Gordon J. Quist.


                                   TRACEY CORDES
                                   CLERK OF COURT

Dated: October 9, 2012         By: /s/ G. Frayer
                                  Deputy Clerk
